
648 S.E.2d 852 (2007)
STATE of North Carolina
v.
Matthew Jacob CUTHRELL.
No. 43P07.
Supreme Court of North Carolina.
June 27, 2007.
Matthew Jacob Cuthrell, pro se.
Anne M. Middleton, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 19th day of January 2007 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
